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                                                                      UNITED STATES DISTRICT COURT
                                                                        LAS CRUCES, NEW MEXICO

                         IN THE UNITED STATES DISTRICT COURT                      JUL O 6 2020
                            FOR THE DISTRICT OF NEW MEXICO               MITCHELL R. ELFERS
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UNITED STATES OF AMERICA,                                                        //.· �r     ,t?-1

       Plaintiff,

vs.                                                          Crim. No. 20-1265-001 KG

LORENZO RUBEN ARIAS,

       Defendant.

                    ORDER DENYING DEFENDANT'S DETENTION APPEAL

       This matter comes before the Court upon Defendant Lorenzo Ruben Arias' (Defendant)

Appeal from Order of Detention (Appeal), filed April 23, 2020. (Doc. 24). The United States

responded on May 7, 2020. (Doc. 27). On June 9, 2020, the Court held a video conference

hearing on the Appeal. (Doc. 4). Rachel Feuerhammer and Dustin Segovia represented the

United States while Gregory Garvey represented Defendant, who was present. Pretrial Services

Officer Brenda Richardson was also present.

       Having considered the Appeal, the response, the Criminal Complaint (Doc. 1), the

Pretrial Services Report (Doc. 9), the transcript of Defendant's initial appearance before

Magistrate Judge Kevin R. Sweazea (Doc. 34), the transcript of Defendant's preliminary and

detention hearing before Magistrate Judge Gregory B. Wormuth (Doc. 35), Judge Wormuth's

Order of Detention Pending Trial (Doc. 14), and the argument of counsel at the video conference

hearing, the Court denies the Appeal and orders that Defendant remain under pretrial detention.

In doing so, the Court makes the Findings of Fact and Conclusions of Law set forth below.
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